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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


  STATE OF MISSOURI, et al.,

            Plaintiffs,                                        No. 22-cv-1213

      v.                                                       Consolidated with No. 23-cv-381

  DONALD J. TRUMP., in his official capacity as                Judge Terry A. Doughty
  President of the United States of America, et al.,           Mag. Judge Kayla D. McClusky

            Defendants.


                             JOINT MOTION TO STAY DISCOVERY
           In light of Defendants’ Notice of Supplemental Authority in Anticipation of Further

 Submissions, ECF No. 425, the parties respectfully request that this Court stay discovery, including

 the deadlines set forth in this Court’s January 27, 2025 Memorandum Order, ECF No. 426, pending

 the parties’ submission of statements regarding the effect of a recent executive order on this action

 and a subsequent conferral between the parties. Good cause supports this request:

           1. As explained in Defendants’ Notice, on January 20, 2025, the President of the United

 States issued Executive Order 14149, “Restoring Freedom of Speech and Ending Federal

 Censorship,” 90 Fed. Reg. 8,243 (Jan. 20, 2025), which reflects the position of the United States

 and provides that, among other things, “[n]o Federal department, agency, entity, officer, employee,

 or agent may act or use any Federal resources in a manner contrary to” § 2 of the EO, which

 provides in turn, among other things, in § 2(c), that “[i]t is the policy of the United States” to

 “ensure that no taxpayer resources are used to engage in or facilitate any conduct that would

 unconstitutionally abridge the free speech of any American citizen.”

           2. In light of that executive order, the parties require additional time to evaluate their

 positions in this case and to determine how best to proceed. The parties respectfully contend that
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 the most efficient use of party and judicial resources is for the parties to submit statements

 regarding that executive order and its implications for this action before proceeding with discovery.

        3. Accordingly, the Parties respectfully request that the Court stay the deadlines set forth

 in this Court’s January 27, 2025 Memorandum Opinion, ECF No. 426, pending: (1) submission

 of Defendants by February 20, 2025, of a statement describing their position regarding the effect

 of the executive order on this action, and Plaintiffs’ response to that statement by March 20, 2025;

 (2) any order issued by this Court on relief sought in those statements, in the event that either or

 both parties seek relief; and (3) a joint status report to be filed by the earlier of either April 25,

 2025, or 14 days after any order this Court issues pursuant to the statements regarding the executive

 order. The joint status report would include proposed revised dates for the discovery submissions

 set forth in this Court’s January 27, 2025 Order, should such discovery still be necessary. A

 proposed order is attached.


 Dated: January 31, 2025                   Respectfully submitted,

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